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January 2, 2019

The Honorable Jesse M. Furman
United States District Court for the Southern District of New York
40 Centre Street, Room 2202
New York, NY 10007

       RE:     Notice of Supplemental Authority in State of New York, et al. v. U.S. Dep’t of
               Commerce, et al., 18-CV-2921 (JMF)

Dear Judge Furman,

        Plaintiffs respectfully submit this notice of supplemental authority to advise the Court of
a recent decision in Kravitz v. Dep’t of Commerce, No. 8:18-cv-01041-GJH (D. Md.), and La
Union del Pueblo Entero v. Ross, No. 8:18-cv-01570-GJH (D. Md.), denying defendants’
motions for summary judgment.

       A copy of the decision is attached as Appendix A.


                                       Respectfully submitted,

                                      AMERICAN CIVIL LIBERTIES UNION
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                                      By: /s/ Sarah Brannon__________

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49(c)(3).

Perry M. Grossman
New York Civil Liberties Union Foundation

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